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                                                                        EXHIBIT 63
   U.S. DEPARTMENT OF THE TREASURY

   Press Center



    Treasury Designates Individuals with Ties to Al Qaida, Former Regime
    12/7/2007




    Washington , DC --The U.S. Department of the Treasury today designated seven individuals with ties to the Iraqi insurgency and the
    former Iraqi regime. One individual was designated for providing financial and material support to Al-Qaeda in Iraq (AQI) and the six
    other individuals were designated as senior officials of the former Iraqi regime or their immediate family members, some of whom provided
    financial and material support to Iraq insurgents.

    "The United States is acting today against former regime elements and others supporting the Iraqi insurgency out of Syria," said Stuart
    Levey, Under Secretary for Terrorism and Financial Intelligence. "Syria must take action to deny safe haven to those supporting violence
    from within its borders."

    Fawzi Mutlaq Al-Rawi was designated pursuant to Executive Order 13224, which is aimed at terrorists and those providing them with
    financial and other support. The other six individuals were designated pursuant to Executive Order 13315, which targets senior officials of
    the former Iraqi regime or their immediate family members.

    Designations under E.O. 13224 and E.O. 13315 are implemented by Treasury's Office of Foreign Assets Control, and prohibit all
    transactions between the designees and any U.S. person and freeze any assets the designees may have under U.S. jurisdiction.

    Identifying Information

    Fawzi Mutlaq Al-Rawi
    AKAs:
    AL-RAWI, Fawzi Isma'il Al-Husayni
    ABU FIRAS
    ABU AKRAM
    Title:
    Chairman of the Iraqi Wing of the Syrian Ba'th Party
    DOB:
    1940
    POB:
    Rawah City, Iraq
    Nationality:
    Iraqi
    Citizenship:
    Syrian
    Location:
    Damascus, Syria
    Address:
    Syrian Government-owned apartment, Al-Mazzah district, Damascus, as of several years ago
    Office Location:
    Syrian Ba'th Party Command Building, Al-Halbuni district, Damascus, as of several years ago

    Fawzi Mutlaq Al-Rawi, the leader of the Iraqi wing of the Syrian Ba'th Party, was designated under E.O. 13224 for providing financial and
    material support to AQI.

    Al-Rawi in November 2005 facilitated the provision of $300,000 to members of AQI. In addition, he provided AQI with vehicle-borne
    improvised explosive devices, rifles, and suic ide bombers at the request of a senior AQI leader in Iraq. Al-Rawi and that same leader in
    September 2005 attended a meeting in Ar Ramadi, Iraq, with other senior AQI representatives where they discussed financing, unifying
    AQI forces, conducting airborne improvised explosive device attacks against the U.S. Embassy, and concentrating attacks against the
    international zone.


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    As of March 2005, Al-Rawi was present at regular meetings to plan funding for Muhammad Yunis Ahmad's network in Iraq. Ahmad, who
    was designated pursuant to E.O. 13315 in June 2005 and named on the United Nations Security Council Resolution 1483 list, has
    provided guidance, financial support, and coordination for insurgent attacks throughout Iraq. Al-Rawi also ran a charity organization
    which was actually a front for funding the network. As of December 2006, Al-Rawi continued to support AQI, meeting regularly with a
    senior member of the organization to discuss funding and to plan future operations in Iraq.

    Al-Rawi was appointed leader of the Iraqi wing of the Syrian Ba'th Party by Syrian President Bashar Al-Asad in 2003. The Iraqi wing of the
    Syrian Ba'th Party has since provided significant funding to Iraqi insurgents at Al-Rawi's direction. Al-Rawi is supported financially by the
    Syrian Government, and has close ties to Syrian Intelligence. He has met with Syrian Intelligence Director Asif Shawkat, and has
    received financial support directly from Dhu al-Himma al-Shalish, former Chief of Asad's Presidential Security Guard. Shawkat was
    named a Specially Designated National pursuant to E.O. 13338 on January 18, 2006 for directly furthering the Government of Syria's
    support for terrorism and interference in the sovereignty of Lebanon. Shalish was named a Specially Designated National pursuant to
    E.O. 13315 in June 2005 for acting on behalf of Saddam Hussein's former regime.

    Under the authorization of the Syrian government, Al-Rawi in 2004 met twice with a former commander of Saddam Hussein's Army of
    Muhammad – a militant group formed by Saddam Hussein to fight against Coalition forces in Iraq. Al-Rawi reportedly informed the
    commander that the Army of Muhammad would receive material aid from Syria in the form of goods given to the Army for resale in Iraq
    rather than money, due to international concerns that Syria was supporting terrorism and the resistance in Iraq.

    Hasan Hashim Khalaf Al-Dulaymi
    AKA:
    WISSAM, Abu
    DOB:
    1942
    POB:
    Baghdad, Iraq
    Nationality:
    Iraqi
    Address:
    30th Street, Al-Yarmuk Area of Jadat Al-Jaysh District of Damascus, Syria
    Alt Address:
    House #43, Lane #17, Subdivision #808, Al-Dawrah, Baghdad, Iraq

    Hasan Hashim Al-Dulaymi was designated under E.O. 13315 as a senior official of the former Iraqi regime. In 2005, Al-Dulaymi was a
    deputy of Syria-based Muhammad Yunis Ahmad, a financial facilitator and operational leader who helped reconstitute the Iraqi Ba'th Party.
    In late 2004, Al-Dulaymi served as a principal assistant to Izzat Ibrahim al-Duri and visited Baghdad to coordinate insurgent activities.
    Additionally, Al-Dulaymi directed an anti-coalition cell in Baghdad in late 2003.

    In addition, Al-Dulaymi, who operates out of Syria and Iraq, has been an active member of the Iraqi Ba'th Party and served as the Ba'th
    Party Treasury Secretary under Saddam Hussein's regime. The Central Criminal Court of Iraq in July 2006 named Al-Dulaymi on their list
    of 41 most-wanted individuals and issued a warrant for his arrest. Currently, Al-Dulaymi is in contact with leading former regime officials,
    including designated former regime officials Muhammad Yunis Ahmad, Izzat Ibrahim al-Duri and Taha Yasin Ramadan.

    Ahmed Watban Ibrahim Hasan Al-Tikriti
    AKAs:
    AL-TIKRITI, Ahmad Watban Ibrahim Hasan
    MUHAWDAR, `Imad `Udi
    DOB:
    1975
    ALT DOB:
    1979
    POB:
    Baghdad, Iraq
    Nationality:
    Iraqi
    Address:
    Al-Ra'is building Mina Street, Tartus City, Tartus Province Syria
    Address:
    Jirmanah neighborhood, Damascus, Syria
    Address:
    Al-Hadda Hotel, Sana'a, Yemen

    Syria-based Ahmed Watban Ibrahim Hasan Al-Tikriti is the son of Watban Ibrahim Hasan Al-Tikriti – the former Iraqi Minister of the Interior
    – who was designated pursuant to E.O. 13315 in June 2003. Ahmed Watban has provided financial and operational support to the Iraq

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